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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                                    CASE NO. 21-CR-20277-DMM-1

                 Plaintiff,

  vs.

  FREDY DONALDO MARMOL VALLEJO,

              Defendant,
  ______________________________________/

                DEFENDANT, FREDY DONALDO MARMOL VALLEJO’S
               OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT

         COMES NOW the Defendant, FREDY DONALDO MARMOL VALLEJO, by and

  through his undersigned counsel, and presents herewith, his Objections to the Presentence

  Investigation Report (“PSI”) [D.E. 53], and states as follows:

         1.      Objection to Paragraph 17: “Role Assessment”

         The Defendant objects to paragraph 17 of the PSI insofar as it states that, “According to

  the government, Mármol Vallejo was the leader of the drug trafficking organization. Because

  Mármol Vallejo was an organizer or a leader in a criminal activity that involved five or more

  participants or was otherwise extensive, a four-level aggravating role adjustment is recommended

  for him, pursuant to §3B1.1(a).” (Emphasis supplied.)

         As noted in the plea agreement, the Defendant’s position is that his role in the offense was

  more of a manager or supervisor, rather than as an organizer or leader of a criminal, so a three (3)

  level increase would be a more appropriate role enhancement as provided in U.S.S.G. §3B1.1(b),

  rather than a four (4) level increase provided for in U.S.S.G. §3B1.1(a). It is submitted that this

  would more accurately reflect his relative role in the offense conduct.
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           First, it should be noted that the Plea Agreement executed by the parties states, although

  not binding upon the Probation Office or the Court, that they “will jointly recommend that the

  Court make the following finding(s) and conclusion(s) as to the sentence to be imposed and that

  no other enhancements other than the following apply: … (b) Role in the offense: A 2, 3, or 4 level

  role enhancement for leader/organizer or manager/supervisor is applicable.” Therefore, the

  Defendant’s suggestion that a three (3) level increase would be a more appropriate role

  enhancement is in accord with the understanding of the parties as reflected in the Plea Agreement.

           Among the factors a sentencing court should consider when weighing an aggravating role

  enhancement are: the exercise of decision making authority, the nature of participation in the

  commission of the offense, the recruitment of accomplices, the claimed right to a larger share of

  the fruits of the crime, the degree of participation in planning or organizing the offense, the nature

  and scope of the illegal activity, and the degree of control and authority exercised over others. U.S.

  Sentencing Guidelines Manual § 3B1.1, cmt., application n. 4.          In this context, Mr. Marmol

  Vallejo more closely fits within the description of a manager/supervisor in the overall criminal

  conduct.

           It is conceded that “[t]he line between being an organizer or leader, on the one hand, and a

  manager or supervisor, on the other, is not always clear . . . .” United States v. Bahena, 223 F.3d

  797, 804 (8th Cir. 2000) (citing United States v. Delpit, 94 F.3d 1134, 1155 (8th Cir. 1996)).

  Nonetheless, it is clear that the difference between organizers and leaders, and managers and

  supervisors, turns on the defendant’s degree of responsibility in the criminal activity. See USSG

  §3B1.1, comment. (backg’d). See also United States v. Herrera, 878 F.2d 997, 1000 (7th Cir.

  1989).


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            In light of the ultimate intent of the Sentencing Commission to ascribe relative

  responsibility and punish accordingly, it is respectfully submitted that Mr. Marmol Vallejo should

  receive a three (3) level role enhancement, rather than a four (4) level enhancement.

            2.     Objection to Paragraph 26: “Adjustment for Role in the Offense”

            The Defendant objects to paragraph 26 of the PSI insofar as it states that, “The defendant

  was an organizer or leader of a criminal activity that involved five or more participants or was

  otherwise extensive, the offense level is increased by four levels, §3B1.1(a).”

            With regard to this objection, the Defendant reasserts, realleges, and incorporates by

  reference, the argument contained within the objection to paragraph 17 above as if set forth fully

  herein.

            Again, the Defendant agrees that his role in the offense was that of a manager or

  supervisor, rather than as an organizer or leader of a criminal activity that involved five or more

  participants or was otherwise extensive, and that a three (3) level increase would be the appropriate

  role enhancement as provided in U.S.S.G. §3B1.1(b), not a four (4) level increase provided for in

  U.S.S.G. §3B1.1(a).

            3.     Objection to Paragraph 28: “Adjusted Offense Level”

            The Defendant objects to Paragraph 28 of the PSI with regard to the assertion that the

  adjusted offense level should be 42.

            Specifically, when three (3) levels are applied as the aggravating role enhancement as

  provided in U.S.S.G. §3B1.1(b), rather than four (4) levels under U.S.S.G. §3B1.1(a), the result

  would be an adjusted offense level of 41, rather than 42.




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         4.      Objection to Paragraph 32: “Total Offense Level”

         The Defendant objects to Paragraph 32 of the PSI with regard to the assertion that the total

  offense level should be 39.

         Specifically, when three (3) levels are applied as the aggravating role enhancement as

  provided in U.S.S.G. §3B1.1(b), rather than four (4) levels under U.S.S.G. §3B1.1(a), and a three

  (3) level decrease for acceptance of responsibility is applied, the result would be a total offense

  level of 38, rather than 39.

         5.       Objection to Paragraph 69: “Sent. Options - Guideline Provisions”

         The Defendant objects to Paragraph 69 of the PSI inasmuch as it reads, “Based upon a total

  offense level of 39 and a criminal history category of I, the guideline imprisonment range is 262

  to 327 months.”

         The Defendant affirmatively asserts that when three (3) levels are applied as the

  aggravating role enhancement as provided in U.S.S.G. §3B1.1(b), rather than four (4) levels under

  U.S.S.G. §3B1.1(a), and a three (3) level decrease for acceptance of responsibility is applied, the

  result would be a total offense level of 38. Therefore, the appropriate advisory guidelines sentence

  range should read as follows: Based on a total offense level of 38 and a criminal history category

  of I, the advisory guideline imprisonment range is 235 to 293 months before the application of

  any applicable downward departures and/or variances that this Honorable Court may deem

  appropriate.

         WHEREFORE, the Defendant, FREDY DONALDO MARMOL VALLEJO,

  respectfully prays that this Honorable Court sustain the within objections to the Presentence

  Investigation Report and direct the United States Probation Office to amend the Presentence

  Investigation Report as requested herein.
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                                                   Respectfully submitted,

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                                                  /s/ Ana M. Davide________
                                                   Ana M. Davide, Esq.

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 23rd day of March, 2022. I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties either via transmission

  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.

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                                         SERVICE LIST

                  United States of America v. Fredy Donaldo Marmol Vallejo
                          Case No. CASE NO. 21-CR-20277-DMM-1
                   United States District Court, Southern District of Florida

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